

Crockett v Home Depot U.S.A., Inc. (2025 NY Slip Op 02525)





Crockett v Home Depot U.S.A., Inc.


2025 NY Slip Op 02525


Decided on April 25, 2025


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on April 25, 2025
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: SMITH, J.P., BANNISTER, MONTOUR, GREENWOOD, AND KEANE, JJ.


902 CA 24-00303

[*1]CYNTHIA CROCKETT, PLAINTIFF-RESPONDENT-APPELLANT,
vHOME DEPOT U.S.A., INC., DEFENDANT-APPELLANT-RESPONDENT, RWC LANDSCAPE SERVICES MANAGEMENT, JA KRANTZ LANDSCAPE DESIGN, LLC, DEFENDANTS-RESPONDENTS, ET AL., DEFENDANT. (APPEAL NO. 2.) 






SMITH SOVIK KENDRICK &amp; SUGNET P.C., WILLIAMSVILLE (ALAN J. BEDENKO OF COUNSEL), FOR DEFENDANT-APPELLANT-RESPONDENT.
GOLDSTEIN GRECO, P.C., BUFFALO (BRIAN A. GOLDSTEIN OF COUNSEL), FOR PLAINTIFF-RESPONDENT-APPELLANT. 
NASH CONNORS, P.C., BUFFALO (ANDREW J. KOWALEWSKI OF COUNSEL), FOR DEFENDANTS-RESPONDENTS. 


	Appeal and cross-appeal from an order of the Supreme Court, Niagara County (Frank Caruso, J.), entered January 30, 2024. The order, inter alia, denied those parts of the motions of the parties seeking leave to reargue. 
It is hereby ORDERED that said appeal and cross-appeal are unanimously dismissed without costs.
Same memorandum as in Crockett v Home Depot U.S.A., Inc. ([appeal No. 1] — AD3d — [Apr. 25, 2025] [4th Dept 2025]).
Entered: April 25, 2025
Ann Dillon Flynn
Clerk of the Court








